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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


Tyhe McClendon and Kianna Lee,                 )
                                               )
                          Plaintiffs,          )
                                               )
vs.                                            )   CIVIL ACTION FILE NO:
                                               )   1:22-cv-02883-WMR
Deere & Company, and John/Jane Does            )
1-20, inclusive                                )
                                               )
                          Defendants.          )
                                               )

      DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

       COMES NOW Defendant Deere & Company (“Deere”) and submits this

Certificate of Interested Persons and Corporate Disclosure Statement pursuant to

Local Rule 3.3, N.D. Georgia, showing as follows:

       1.       Deere certifies that the following is a full and complete list of all

parties related to Deere in this action, including any parent corporation and any

publicly held corporation that owns 10% or more of the stock of Deere: Deere is a

publicly held corporation that is traded on the New York Stock Exchange

under ticker symbol DE. Deere has no parent corporation and no publicly

held corporation owns 10% or more of its stock.


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      2.       The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case: None.

      3.       The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys in this action:

               For Plaintiffs: Ramin Kermani-Nejad and Hani Ganji of Kermani

      Firm, LLC.

               For Defendant: Shubhra Mashelkar and Carol Michel of

      Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC.

      Respectfully submitted this 22nd day of July, 2022.

                                        WEINBERG, WHEELER, HUDGINS,
                                        GUNN & DIAL, LLC

                                         /s/ Carol P. Michel
                                         Carol P. Michel
                                         Georgia Bar No. 504056
                                         Shubhra R. Mashelkar
                                         Georgia Bar No. 475388
                                         Counsel for Defendant Deere &
                                         Company
3344 Peachtree Road NE
Suite 2400
Atlanta, GA 30326
Telephone: (404) 876-2700
Facsimile: (404) 875-9433


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cmichel@wwhgd.com
smashelkar@wwhgd.com




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 CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 5.1 AND 7.1D

      Pursuant to Local Rules 5.1 and 7.1D of the United States District Court of

the Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, prepared with a top margin of

not less than one and one-half inches and a left margin of not less than one inch,

double-spaced between lines, and used Times New Roman font of 14-point size.

Dated: July 22, 2022.

                                            /s/ Carol P. Michel
                                            Carol P. Michel
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                          CERTIFICATE OF SERVICE

      I hereby certify on July 22, 2022, I electronically filed the foregoing

Defendant’s Certificate of Interested Persons and Corporate Disclosure Statement

by using the CM/ECF filing system, which will automatically send notification to

all counsel of record, as follows:

                               Ramin Kermani-Nejad
                                     Hani Ganji
                                Kermani Firm, LLC
                               1718 Peachtree St NW
                                     Suite 489
                                 Atlanta, GA 30309
                                Counsel for Plaintiffs

      This 22nd day of July, 2022.

                                       WEINBERG, WHEELER, HUDGINS,
                                       GUNN & DIAL, LLC

                                        /s/ Carol P. Michel
                                        Carol P. Michel
                                        Georgia Bar No. 504056
                                        Shubhra R. Mashelkar
                                        Georgia Bar No. 475388
                                        Counsel for Defendant Deere &
                                        Company
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